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The following constitutes the ruling of the court and has the force and effect therein described.


Signed March 2, 2021
                                            United States Bankruptcy Judge
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


                                                           Chapter 11
      In re:                                               Case No. 21-30085-hdh11
      NATIONAL RIFLE ASSOCIATION OF                        Jointly Administered
      AMERICA and SEA GIRT LLC                             Emergency Setting
      Debtors.                                             Hearing Date: 2/24/2021
                                                           Hearing Time: 2:00 p.m.



       ORDER DENYING MMP’S MOTION FOR AN ORDER REQUIRING THE UNITED
         STATES TRUSTEE TO RECONSTITUTE THE OFFICIAL COMMITTEE OF
                 UNSECURED CREDITORS (EMERGENCY SETTING)

         On February 24, 2021, the Court held an evidentiary hearing on the Motion to Reconstitute

     the Official Committee of Unsecured Creditors filed by Membership Marketing Partners, LLC
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(“MMP Reconstitute Motion”) (Dkt. No. 164). In accordance with Federal Rule of Bankruptcy

Procedure 7052(a), the Court read the findings of fact and conclusions of law into the record.

   For the reasons stated on the record, the Court ORDERS AND ADJUDGES that the MMP

Reconstitute Motion IS DENIED.

   So ordered and adjudged.

                                      # # # End of Order # # #



Form of order prepared by:

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